               Case 6:07-cv-00026-BAE-JEG Document 112 Filed 07/16/10 Page 1 of 1



                                   IN THE UNITED STATES DISTRICT COURT
                                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                                           STATESBORO DIVISION


             JAM IL AL-AM IN,                                                    'P ou-f"
                                  Plaintiff,

                    V.                                               CIVIL ACTION NO.: CV607-026
             HUGH SMITH,

                                  Defendant.



                                                        ORDER

                    Let a copy of this Report and Recommendation be served upon the parties. The

             parties will be allowed fourteen (14) days from the date of service of this Report and
             Recommendation to file objections. If no objections are made, this Report and

             Recommendation will be adopted as a record of the proceedings and may become the

             opinion and order of the Court. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. Unit B 1982).

                    All requests for additional time to file any objections to this Report and

             Recommendation should be filed with the Clerk for consideration by the District Judge to
             whom this case is assigned for his determination.

                    The Clerk of Court is directed to submit the Report and Recommendation with
             objections, if any, on or before the     ..? day of                 ,2010.
                                               I/ic
                    SO ORDERED, this /t' day of July, 2010.




                                                                   i1ES E. GRAHAM
                                                                   ITED STATES MAGISTRATE JUDGE




AO 72A
(Rev 8/82)
